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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS


MARIO PILLCO MOROCHO et al.       )
                                  )
              v.                  )      Case No. 1:22-10652-WGY
                                  )
BRISTOL COUNTY SHERIFF’S          )
       OFFICE et al.              )




PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                 MOTION TO DISMISS




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                                       ARGUMENT

      Federal Defendants1 move this Court under Federal Rule of Civil Procedure

12(b)(1) to dismiss the claims against them under the Rehabilitation Act and the

Federal Tort Claims Act (FTCA). (ECF 29). That motion to dismiss should be

denied.

      Defendants bring two types of 12(b)(1) challenge in their motion: a

sufficiency challenge (a facial legal challenge) to Plaintiffs’ claims under the

Rehabilitation Act, and an adequacy challenge (a factual dispute) to Plaintiffs’

claims under the FTCA. See ECF 30 at 7, 9 (Federal Defendants’ Memorandum in

Support of their Motion to Dismiss); see also Valentin v. Hosp. Bella Vista, 254 F.3d

358, 363 (1st Cir. 2001) (detailing the difference between sufficiency and adequacy

motions to dismiss under 12(b)(1) and noting that a court must credit plaintiffs’ well-

pleaded allegations in evaluating sufficiency theories); E.D. v. United States, 764 F.

App’x 169, 172–73 (3d Cir. 2019)(“[W]here jurisdiction is intertwined with the

merits of an FTCA claim, ... a district court must take care not to reach the merits of

a case when deciding a Rule 12(b)(1) motion.”).



1
 The complaint at issue pursues claims against both state and federal defendants.
This Court has already ruled on the motion to dismiss brought by Bristol County
Sheriff’s Office and various individual defendants. This memorandum concerns
solely the Motion to Dismiss (ECF 29) brought by Federal Defendants and has no
bearing on claims already proceeding against the state defendants.
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I.   The Federal Government has waived sovereign immunity for the claims
     brought here under the Rehabilitation Act.

     The Rehabilitation Act protects qualified individuals with disabilities from being

 “denied the benefits of, or be subjected to, discrimination under any program or

 activity receiving Federal financial assistance.” 29 U.S.C. § 794. The Rehabilitation

 Act permits aggrieved individuals to pursue damages against recipients and federal

 providers of federal assistance. See 29 U.S.C. § 794a(a)(2) (providing aggrieved

 persons with the remedies set forth in Title VI of the Civil Rights Act, including

 damages); Colin K. by John K. v. Schmidt, 715 F.2d 1, 10 (1st Cir. 1983) (affirming

 that the Rehabilitation Act provides a private cause of action against federal

 providers of federal assistance). Plaintiffs have named Department of Homeland

 Security (“DHS”) and Immigration and Customs Enforcement (“ICE”) as

 Defendants in their capacity as providers of funding to Bristol County Sheriff's

 Office (“BSCO”) pursuant to this program. See Compl. at ¶¶ 23-24; (“ICE contracted

 with the Bristol County Sheriff's Office (BCSO) to, among other things, detain

 immigrants in Bristol County House of Corrections (BCHOC)”); and ¶ 546 (“BCSO

 and BCHOC receive federal funds, in particular, for their detention of civil

 immigration detainees.”) Defendants’ arguments to the contrary are at odds with

 these allegations in the complaint.




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   Federal Defendants’ status as a provider of federal assistance is only bolstered by

their Intergovernmental Service Agreement (“IGSA”). DHS and Bristol County had

a contractual relationship by virtue of the IGSA, pursuant to which DHS provided

compensation to BCSO to provide for the detention of federal detainees. See ECF

30-1. According to this contract, DHS provided federal funding to Bristol County in

return for Bristol County detaining individuals in its carceral facilities. The

Rehabilitation Act expressly provides for a waiver of sovereign immunity based on

alleged “violations [of the Rehabilitation Act] committed by federal funding

agencies acting as such—that is, by ‘Federal provider[s].’” Lane v. Pena, 518 U.S.

187, 193 (1996) (quoting 29 U.S.C. § 794a(a)(2)) (emphasis added). Here, where

DHS is acting as a federal provider, Federal Defendants are not entitled to sovereign

immunity with respect to Plaintiffs’ claims under the Rehabilitation Act. See

Williams v. New York City Housing Authority, 2009 WL 804137, at *4 (S.D.N.Y.,

2009) aff’d, 408 F. App’x 389 (2d Cir. 2010) (holding that the Department of

Housing and Urban Development (“HUD”) was not entitled to sovereign immunity

under the Rehabilitation Act when plaintiff, alleging hazardous conditions in her

public housing, named HUD as a defendant in its capacity as a provider of funding

to the state housing agency in the Section 8 program); Farmer v. Fed. Bureau of

Prisons, No. 13-CV-1255, 2015 WL 1439871, at *6 n.1 (E.D.N.Y. Mar. 27, 2015)

(noting that the Rehabilitation Act provides a waiver of sovereign immunity in


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limited circumstances for claims related to “funding activities of federal

providers.”).

   Defendants argue that they are entitled to sovereign immunity pursuant to Lane,

but Defendants inappropriately situate Plaintiffs’ claims outside those allowed by

Lane. In Lane, the plaintiff made the fundamental error of suing a federal agency for

disability discrimination when the federal agency provided funding to another

federal entity. Lane, 518 U.S. at 195. The plaintiff, a student who was expelled from

the Merchant Marine Academy because of his disability, alleged that the Department

of Transportation was a federal provider liable pursuant to the Rehabilitation Act

because it had provided federal money to the Merchant Marine Academy. Id. But

because the Merchant Marine Academy was itself a federal entity managed by the

federal government, the Department of Transportation could not be conceived of as

providing the Academy with federal assistance. Id. Where entities are “wholly

owned by, and operated by or for, the United States,” they “cannot fairly be

described as receiving Federal ‘assistance.’” U.S. Dept. of Transp. v. Paralyzed

Veterans of America, 477 U.S. 597, 612 (1986); see also Lane v. Pena, 518 U.S.

187, 195 (1996) (holding that sovereign immunity is not waived where federal funds

“are actually provided to an entity that the Federal Government manages itself.”).

   Such is not the case here. BCSO is a separate entity, receiving funding from

Federal Defendants. Although Federal Defendants then go on to direct aspects of
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  BCSO’s detention practices, See Section II, infra, that does not void the fact DHS or

  ICE is a provider of federal assistance. In short, because DHS provides funding to

  BCSO it is a federal provider under the terms of the Rehabilitation Act and has

  waived sovereign immunity for the claims at issue here.

II.   The independent contractor exception does not shield federal defendants
      from liability in this case.

       Federal defendants move this Court to dismiss the claims against them under the

  Federal Torts Claims Act (FTCA) by asserting that they are covered by the

  independent contractor exception to FTCA liability. (ECF 30 at 9). In support of their

  claim, Federal Defendants assert that, as a factual matter, they did not assert the

  requisite control over Bristol County Sheriff’s Office for liability to attach.

       First, this is the inappropriate stage for resolution of that question. Whether ICE

  or DHS had requisite control over BCSO is a fact-bound inquiry best resolved after

  discovery. Federal defendants attach their then-operative contract with BCSO as

  evidence in support of their position, (ECF 30-1), but the contract is not dispositive,

  and additional discovery is necessary to determine whether Plaintiffs are correct that

  the Federal Defendants exercised the requisite control for liability to attach. At this

  stage, the complaint as pleaded should allow this matter to proceed to discovery.

       Second, even if this were the appropriate stage to resolve this matter, the IGSA

  makes clear that the federal defendants bear enough responsibility for the actions of
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the state defendants that the exception for federal contractors does not attach. Third,

even if BCSO is an independent contractor that, at the very least, does not shield

Federal Defendants from liability for torts pleaded that allege specific negligence on

the part of Federal Defendants themselves.

      a. Bristol County Sheriff’s Office is not sufficiently independent to be an
         independent contractor under the terms of the FTCA exception.

   The FTCA establishes liability for the “negligent or wrongful act or omission of

any employee of the Government while acting within the scope of his office or

employment….” Acosta v. U.S. Marshals Serv., 445 F.3d 509, 513 (1st Cir. 2006)

(quoting 28 U.S.C. § 1346(b)). “‘Employee’ includes ‘officers or employees of any

federal agency’ and ‘persons acting on behalf of a federal agency in an official

capacity.’” Id. (citing 28 U.S.C. § 2671). In order to determine whether BCSO falls

into the independent contractor exception, this Court must look to whether the

Federal Government has “the power…to control the detailed physical performance

of the contractor.” United States v. Orleans, 425 U.S. 807, 814 (1976)(internal

citation omitted). Here there is such power.

   On the face of the IGSA itself there are ample indications that the BCSO

employees were “acting on behalf of a federal agency” and that ICE exercised the

requisite control over key operations, particularly as the claims here are concerned.

The following contract provisions are illustrative:

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    • Article II, Part B: Limitations on BSCO’s ability to subcontract. (ECF 30-1 at

       3).2

    • Article III, Parts A and C: Limitations on BCSO’s ability to release or

       discharge detainees. (ECF 30-1 at 4-5). This is particularly relevant to this

       matter where the claims, in part, result from the population density at the

       facility which the Federal Defendants had the authority to reduce. See e.g.

       Compl. At ¶ 602.

    • Article V: This article directs that BSCO must perform all detention services

       according to ICE detention standards and that BSCO will be subject to

       inspection at any time to ensure that it and its employees are adhering to those

       standards. (ECF 30-1 at 5).

    • Article VI, Part G: This section directs that BCSO requires pre-approval from

       DHS for non-emergency offsite medical care and treatment of detainees.

    • Article VIII, Part A-C: Restricting BCSO from employing or assigning certain

       individuals to engage in immigration detention. (ECF 30-1 at 7-9).

    • Article XV, Part A: Indemnifying BCSO from certain claims including: “any

       and all liability claims and costs of whatever kind and nature, for injury to or

       death of any person(s) or loss or damage to any property, which occurs in



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  For the sake of consistency Plaintiffs will refer to the exhibit page numbers as
recorded by the ECF system rather that the page numbers on the document itself.
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       connection with or is incident to performance of work under the terms of this

       Agreement, and which results from negligent acts or omissions of ICE officers

       or employees, to the extent that ICE would be liable for such negligent acts or

       omissions under the Federal Tort Claims Act, 28 USC 2691 et seq.” (ECF 30-

       1 at 11).

    These contract provisions indicate a level of control that goes beyond that of an

independent contractor. These provisions also undermine the Federal Defendants’

reliance on Logue. Certainly, there are some similarities to Logue. In Logue there

was a contract to allow a county jail to hold federal prisoners, and that contract

included a right to inspection and compliance with Federal Bureau of Prison

standards. Logue v. United States, 412 U.S. 521, 529 (1973). But there are

significant differences that take this case outside the Logue framework. First, the

contract here establishes more control by the federal government. The contract

dictates, in part, who BCSO can hire/assign, the need for approval for non-

emergency offsite medical care,3 particular standards by which BCSO’s work must

be conducted, whether BCSO can release detainees, and when the Federal

government will indemnify BCSO. Beyond what is stated in the contract, it is also




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 Federal Defendants argue that BCSO is responsible for the medical treatment of
detainees, but this cannot be entirely true where, as here, Federal Defendants can
approve or disapprove outside medical treatment.
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important to look at what is not stated. Not stated in the contract is the

unambiguous language that the First Circuit relied on in Carroll v. United States,

661 F.3d 87, 96 (1st Cir. 2011). There, the contract stated that the contractor was

“not an employee or agent of the government.” Such a term (which presumably the

government knows how to include) is not present in the relevant IGSA at issue

here. See ECF 30-1.

    Second, there are significant differences unique to federal immigration

detention at play in this case. BCSO was engaged in federal immigration functions,

a unique area of the law with no equivalent in state government and where the

federal government retains broad authority. See, e.g. Arizona v. United States, 567

U.S. 387, 395 (2012). This was not at issue in Logue. Additionally, BCSO had

entered into a “287(g) agreement” here. While the Federal Defendants assert that

the 287(g) agreement is not at issue, (ECF 30 at 14), it is relevant for the role that

BCSO played as an agency conducting federal immigration functions. Agreements

under Section 287(g) of the INA purport to authorize state officials to engage in

federal immigration functions related “to the investigation, apprehension, or

detention of aliens in the United States…” 8 U.S.C. § 1357(g)(1). Such functions

entail the precise activities that the BCSO and its employees engaged in as

described in the complaint and the IGSA. When determining who should bear

liability for torts committed in the performance of these functions 8 U.S.C. §

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1357(g)(8) is clear: “an officer or employee of a State or political subdivision of a

State acting under color of authority under this subsection, or any agreement

entered into under this subsection, shall be considered to be acting under color of

Federal authority for purposes of determining the liability, and immunity from suit,

of the officer or employee in a civil action brought under Federal or State law.” 8

U.S.C. § 1357(g)(8). It follows that, to the extent that BCSO employees were

engaged in federal functions authorized by 287(g), that they are federal officials for

purposes of liability and that such liability would extend to the FTCA.

      b. Even if Bristol County Sheriff’s Office were an independent contractor, the
         Federal Defendants are still responsible for their own negligence.

      Federal Defendants rest their Motion on claims that BCSO is responsible for

the alleged negligence and is an independent contractor, not a part of the federal

government. Even if that were true, that does not shield the Federal Defendants from

claims that they themselves were negligent. Counts 18 and 21 of the Complaint

concern negligence attributable both to BCSO acting on behalf of Federal

Defendants and on behalf of the Federal Defendants themselves. Plaintiffs allege

that the Federal Defendants were aware of the conditions at Bristol County House

of Corrections and of the risk of a COVID-19 outbreak. See Compl. at ¶104.

Plaintiffs then allege that Federal Defendants themselves took steps to investigate

conditions, order additional safety protocols, or, most importantly, facilitate social


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distancing and safety of detainees by allowing for their release to home confinement.

See Compl. ¶¶117-123. These were the actions of the Federal Defendants, either

alone or in conjunction with the State Defendants. These actions are therefore not

subject to the independent contractor exception to the FTCA because they are claims

directly about the action of the federal agencies. See e.g. Edison v. United States,

822 F.3d 510, 517–19 (9th Cir. 2016) (“The independent contractor exception,

however, has no bearing on the United States’ FTCA liability for its own acts or

omissions.”) see also Greenland v. United States, 661 F. App'x 210, 214–15 (3d Cir.

2016) (reversing summary judgment originally based on an independent contractor

exception defense because the lower court did not consider the allegations that the

Federal Defendant itself responded to some communication with plaintiffs about

medical requests to the facility and that they had the authority to approve surgeries,

meaning the plaintiff had allegations related to Federal Defendants’ own actions of

negligent medical care).

                                              Respectfully submitted,
March 20, 2023,                               Plaintiffs,
                                              By their attorneys,
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                         CERTIFICATE OF SERVICE


      The undersigned certifies that this document, filed through the CM/ECF
system, will be electronically served on all counsel who are registered users of
ECF on March 20, 2023.



                                                                     /s/ Oren Nimni
                                                                        Oren Nimni




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